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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

GUADALUPE AND HERLINDA
CORDOVA

PLAINTIFF
ADVERSARY NO. 13-03132
VS.

RODNEY UNDERWOOD, ET AL
DEFENDANT

JOSE LUIS MATA
INTERVENOR

On COR COR COR SOR COR 6G 6GR 4G Lon 6

INTERVENOR, JOSE MATA’S RESPONSE TO EMERGENCY MOTION TO
CONTINUE TRIAL

Comes now JOSE MATA and files this response to Defendant’s Emergency Motion to Continue

Trial and in support thereof would respectfully show the Court as follows:

1. Intervenor is not opposed to a continuance of the trial setting.

Dated: T Pals

Respectfully submitted,

212 South 2nd Street

Richmond, TX 77469
281-341-0530 Telephone
281-342-4275 Facsimile
ATTORNEY FOR INTERVENOR
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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the above and foregoing has been forwarded
to all parties of interest via U.S. regular mail, postage prepaid, and/or via electronic file notification
by the Clerk of the Court on this May 19, 2015.

Plaintiff:

Via ECF and Facsimile
Reese W. Baker

Baker & Associates
5151 Katy Freeway
Suite 200

Houston, TX 77007

Defendant:
Via ECF and Facsimile
Kenneth R. Barrett

3740 Greenbriar #541873
Houston, Texas 77254 WG JE

~ ADAMS

